
700 S.E.2d 750 (2010)
FISH HOUSE, INC.
v.
Patrice C. CLARKE.
No. 263P10.
Supreme Court of North Carolina.
August 26, 2010.
Norman Shearin, Kitty Hawk, for Fish House, Inc.
Lloyd Smith, Windsor, for Patrice C. Clarke.
Prior report: ___ N.C.App. ___, 693 S.E.2d 208.

ORDER
Upon consideration of the petition filed on the 22nd of June 2010 by Plaintiff in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 26th of August 2010."
